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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

 IN RE: AVOCADO OIL                               )
 MARKETING                                        )                  MDL No. __________
 LITIGATION                                       )

    MOTION FOR TRANSFER OF ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR
       COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

       Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation (“JPML”), Plaintiffs Clair Awad, Rajat Dawar, Maggie Frost, Matthew

Hawkins, Ralph Milan, Kevin Smith, Lachae Vickers, and Cara Zajac (collectively, “Movants”)

respectfully move the JPML to transfer and centralize the actions listed in the attached Schedule

of Actions, and any subsequent tag-along actions, to the Honorable Jeremy C. Daniel of the United

States District Court for the Northern District of Illinois, or in the alternative, to the Honorable

Leo T. Sorokin of the United States District Court for the District of Massachusetts or another

judge of that District, for coordinated and consolidated pretrial proceedings.

       Transfer and centralization of these actions is appropriate for the following reasons:

   1. To date, at least nine federal actions have been filed based on substantially similar

       allegations, inter alia, that the avocado oil products marketed as pure avocado oil through

       prominent representations on the packaging are, in fact, not pure avocado oil, and are thus

       deceptively marketed in violation of various consumer protection statutes. Collectively,

       Movants refer to these actions as the “Related Actions.”

   2. In light of the nature of the claims, the ease with which future plaintiffs may become

       retained by plaintiffs’ attorneys as a result of nationwide avocado oil sales, and the potential

       damages at stake, more cases will likely be filed.




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3. All Related Actions and any additional tag-along actions will involve the same factual

   theories, claims and, likely, defenses. The Related Actions will also likely involve

   overlapping expert needs, common discovery, and pretrial motion practice, as well as

   overlapping class claims and the potential for inconsistent pretrial rulings.

4. Movants seek to create a single MDL for the Related Actions and any tag-along actions in

   the Northern District of Illinois, or in the alternative, in the District of Massachusetts. As

   explained in more detail in the accompanying brief, centralization will eliminate

   duplicative discovery, prevent inconsistent rulings, and conserve judicial resources.

5. The convenience of the courts, witnesses, parties, and counsel will all be served by transfer

   and centralization in the Northern District of Illinois before the Honorable Jeremy C.

   Daniel, as discussed in detail in the accompanying brief. Judge Daniel is the presiding

   judge in one of the Related Actions, Rajat Dawar v. Sam’s West, Inc., et. al., No. 1:24-cv-

   09106 (N.D. Ill. Sep. 27, 2024).

6. In the alternative, the convenience of the courts, witnesses, parties, and counsel would also

   be served by transfer and centralization in the District of Massachusetts before the

   Honorable Leo T. Sorokin, or another judge of that District, as discussed in detail in the

   accompanying brief. Judge Sorokin is the presiding judge in one of the Related Actions,

   Cara Zajac v. The Stop & Shop Holdings, Inc., No. 1:24-cv-12512 (D. Mass. Oct. 1, 2024).

7. In support of this Motion, Movants file:

       a. A brief describing the background of the Related Actions and Movants’ contentions;

       b. A Schedule of Actions providing: (1) the complete name of each action, listing the

           full name of each party; (2) the district court where the action is pending; (3) the




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               civil action number of each action; and (4) the name of the Judge assigned to each

               action;

            c. A copy of all complaints and docket sheets for the actions listed in the Schedule of

               Actions;

            d. A statement regarding oral argument;

            e. Proof of Service.

WHEREFORE, Movants respectfully request that the Panel grant their motion and transfer all

federal Related Actions and any subsequent tag-along actions for coordinated or consolidated

pretrial proceedings to the Northern District of Illinois and Judge Jeremy C. Daniel, or in the

alternative, to the District of Massachusetts and Judge Leo T. Sorokin, or another judge of that

District.



Dated: October 23, 2024                               FARUQI & FARUQI, LLP

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